        Case 2:11-cr-00091-GEB Document 34 Filed 08/25/11 Page 1 of 3


 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE: (916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     LEON BALDWIN
 6
 7                IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )                CR.NO. S-11-91–GEB
10                                  )
          PLAINTIFF,                )
11                                  )                STIPULATION AND PROPOSED ORDER
          v.                        )                TO CONTINUE THE JUDGMENT AND
12                                  )                SENTENCING DATE TO FRIDAY,
     LEON BALDWIN, et. al.,         )                SEPTEMBER 23, 2011
13                                  )
                                    )
14        DEFENDANTS.               )
                                    )
15   ______________________________)
16
           Plaintiff United States of America, by its counsel, Assistant United States
17
     Attorney, Ms. Jill Thomas and defendant Kimberly Ware, by her attorney, Ms. Shari
18
     Rusk, and defendant Leon Baldwin, by his attorney, Mr. James R. Greiner, hereby
19
     stipulate and agree that the current Judgment and Sentencing date of Friday, August
20
     26, 2011 can be vacated and a new Judgment and Sentencing date of Friday,
21
     September 23, 2011, at 9:00 a.m. before Federal District Court Judge, Honorable
22
     Garland B. Burrell, Jr., can be set by the Court.
23
           The Court’s courtroom deputy, Ms. Shani Furstenau, has been contacted to
24
25   ensure the Court’s calendar was available for Judgment and Sentencing on Friday,
26
     September 23, 2011, and the Court is available.
27
28                                               1
         Case 2:11-cr-00091-GEB Document 34 Filed 08/25/11 Page 2 of 3


 1         The defendants waive time to September 23, 2011, for Judgment and
 2
     Sentencing.
 3
 4         It is so stipulated and agreed.
 5
                                      BENJAMIN B. WAGNER
 6                                    UNITED STATES ATTORNEY
 7
                                      /s/ Jill Thomas -by e mail authorization
 8   DATED: 8-23-11                   _____________________________________
 9                                    Jill Thomas
                                      ASSISTANT UNITED STATES ATTORNEY
10
                                      ATTORNEY FOR THE PLAINTIFF
11
12
     DATED: 8-23-11                   /s/ Shari Rusk
                                      _____________________________________
13                                    Shari Rusk
14                                    Attorney for Defendant Kimberly Ware
15   DATED: 8-23-11                   /s/ James R. Greiner
16                                    _______________________________________
                                      James R. Greiner
17
                                      Attorney for Defendant Leon Baldwin
18
19
20
21 ///
   ///
22
   ///
23
24
25
26
27
28                                             2
        Case 2:11-cr-00091-GEB Document 34 Filed 08/25/11 Page 3 of 3


 1
 2
                                        ORDER
 3
 4
 5
           FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.

 6
     Dated: August 25, 2011
 7
 8
                                      GARLAND E. BURRELL, JR.
 9                                    United States District Judge

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                         3
